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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                         CASE NO. 21-20534-CIV-MARTINEZ-BECERRA

  CARLOS PEREZ JR.,

                 Plaintiff,
  v.

  TOWN OF MIAMI LAKES,

              Defendant.
  _____________________________________/

                     DEFENDANT’S MOTION TO DISMISS COMPLAINT
                      AND INCORPORATED MEMORANDUM OF LAW

         Defendant, Town of Miami Lakes (the “Town”), by and through undersigned counsel, and

  pursuant to Federal Rule of Civil Procedure 12(b)(6), files this Motion to Dismiss, and states as

  follows:

                                          INTRODUCTION

         Plaintiff has filed a First Amendment retaliation claim against the Town. Plaintiff’s

  Complaint, however, completely fails to meet the stringent requirements required to plead

  municipal liability under Monell v. Dep’t of Social Servs. of New York, 436 U.S. 658, 694 (1978).

  Moreover, Plaintiff has failed to state a cause of action as to his underlying retaliation claim based

  upon the allegations set forth on the face of the Complaint. For the reasons set forth below,

  Plaintiff’s Complaint should be dismissed for failure to state a claim.
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                                            BACKGROUND1

         According to the Complaint, on October 29, 2019, plaintiff Carlos Perez Jr. (“Plaintiff”)

  purchased a house located at 14412 Rosewood Road, Miami Lakes, Florida 33014 (the

  “Property”). Compl. ¶¶ 1, 6. The Property “was uninhabitable at the time, and contained an

  unpermitted addition,” which Plaintiff planned to “demolish and rebuild.” Id. ¶¶ 6-7.

         Plaintiff applied for and obtained a roofing permit to replace the house’s existing roof. Id.

  ¶ 9. Plaintiff also applied for a building permit “to replace the unpermitted addition made to the

  Subject Property by a prior owner.” Id. ¶ 10.

         At some unspecified point between February and April of 2020, Plaintiff “proceeded with

  demo and construction [of the addition] without a permit.” Id. ¶ 11 (emphasis added). On April

  28, 2020, Town building inspectors arrived at the Property to inspect the roof construction. Id. ¶

  13. Upon observing the “substantially complete addition,” the Town “issued a Stop Work Order

  on the roof.” Id. Inspector Carlos Valenti informed Plaintiff that Michel Mesa (“Mr. Mesa”), the

  Town Building Official, would reach out to Plaintiff. Id. After Plaintiff had not heard back from

  Mr. Mesa for “[a] few days,” Plaintiff asked his neighbor, who is a developer, if he “knew of

  anyone at the Town that could help out to move things along.” Id. ¶ 14. Plaintiff’s neighbor

  informed Plaintiff that he was friends with Mayor Manny Cid (“Mayor Cid”) and Plaintiff and his

  neighbor reached out to Mayor Cid to “discuss the situation.” Id.

         On some unspecified date, Mayor Cid visited the Property and informed Plaintiff “that he

  would set up a meeting with Mesa to resolve the issues regarding the” Property. Id. Plaintiff then

  “received an irate call from Mesa,” who informed Plaintiff that “he does not take orders from any



  1
          The following facts are taken from Plaintiff’s Complaint and are accepted as true solely
  for purposes of this Motion to Dismiss.
                                                  2

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  politician.” Id. ¶ 15. On May 1, 2020, in order to “smooth things over and work with Mesa,”

  Plaintiff requested a meeting with Mr. Mesa to discuss how to bring the Property into compliance.

  Id. ¶ 16. Plaintiff and Mr. Mesa spoke on May 4, 2020. Id. Plaintiff’s Complaint does not describe

  the contents of the May 4, 2020 conversation. Id.

         Plaintiff retained GPRS to scan the addition’s concrete walls and “to demonstrate

  compliance with applicable provisions of the Florida Building Code.” Id. ¶ 17. GPRS used

  “ground penetrating radar (‘GPR’) instead of x-rays to scan the reinforced concrete.” Id. On July

  13, 2020, GPRS provided a report to Mr. Mesa, which Mr. Mesa rejected. Id. ¶. Mr. Mesa

  informed Plaintiff that he “would allow GPRS to revise the GPRS Report, provided that the revised

  report included some additional details.” Id. ¶ 18. Plaintiff retained GPRS to conduct a second

  scan and provided Mr. Mesa with a second report that included additional details. Id. This second

  scan “was conducted by a GPRS technician under the direction of Carlos Naumann,

  P.E.[‘Naumann’] . . . of GFA International, Inc.” Id. Naumann and GPRS produced a second

  report to Mr. Mesa on August 4, 2020. Id. Mr. Mesa rejected the Naumann/GPRS Report because

  the second scan did not use X-ray scanning. Id.

         Plaintiff then retained “U.S. South Engineering & Testing Lab, Inc. (‘USSETL’) to

  perform X-ray scanning of the reinforced concrete.” Id. ¶ 19. USSETL conducted “X-ray scans

  of the reinforced concrete” on August 24, 2020, and USSETL submitted its report to Mr. Mesa on

  August 26, 2020. Id. On September 4, 2020, Mesa required the following revisions to the

  USSETL report:

         1-Page 1 mentions (structural drawing dated 12-16-2019). Those need to be part of
         the report as an exhibit. Those are the drawings “US South” is saying the site
         generally conforms with. We need to match those to the permit package (it needs
         to be the same pages we approved here).



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          2-The report must link/identify the structural members on the structural drawings
          with the x-ray location #’s in order to determine that all structural members were
          checked. For example, x-ray location # 1, T.beam b-1 south elevation, column c-1
          on SE corner. Tie downs on west wall. For example, I don’t see any x-rays for the
          new continuous footing, reinforced masonry (fill cells and ladder type
          reinforcement), etc. on this report. All the structural members need be x-rayed and
          certified, I can only determine that once they are identified.

          3-Page 11 of the report mentions an “unloading ramp”, that seems to be for the
          wrong project. This is a residential addition.

          4-The report needs to include the make, model and calibration certification for the
          x-ray equipment used as required in testing protocol TAS 301.

  Id. ¶ 20.

          USSETL subsequently revised its report “to add the structural drawings dated 12-16-2019

  and delete replace reference to an ‘unloading ramp’ with ‘residential home.’” Id. ¶ 21. The

  Complaint does not state whether Plaintiff provided Mr. Mesa with “the make, model and

  calibration certification for the x-ray equipment used,” as requested by Mr. Mesa. On September

  18, 2020, Mesa informed Plaintiff of the following:

          After reviewing (at length) the report provided by US South Engineering, the
          pictures provided by the owner and the approved plans, I’ve determine [sic] that
          the unpermitted work does not comply with the plans submitted to the Town of
          Miami Lakes. At this time I’m recommending demolition of the unpermitted work.

  Id. ¶ 22. In an October 6, 2020 meeting, Mr. Mesa informed Plaintiff that “he would only accept

  X-ray scans of every linear foot of reinforced concrete used in the addition to the Subject

  Property.” Id. ¶ 25.

                                         STANDARD OF REVIEW

         Pursuant to Rule 8(a), a complaint must include “a short and plain statement of the claim

 showing that the pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2). Pursuant to Rule 12(b)(6), a

 defendant may move to dismiss a complaint for failure to state a claim upon which relief may be

 granted. Fed. R. Civ. P. 12(b)(6). “To survive a motion to dismiss, a complaint must contain
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 sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’”

 Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570

 (2007)). “A pleading that offers ‘labels and conclusions’ or ‘a formulaic recitation of the elements

 of a cause of action will not do.’” Id. (quoting Twombly, 550 U.S. at 555). “Nor does a complaint

 suffice if it tenders ‘naked assertion[s]’ devoid of ‘further factual enhancement.’” Id. (alteration in

 original).

                                                ARGUMENT

  I.      PLAINTIFF’S MONELL CLAIM AGAINST THE TOWN MUST BE DISMISSED
          FOR FAILURE TO MEET THE STRINGENT PLEADING REQUIREMENTS
          FOR SUCH AN ACTION.

          A.     The Stringent Standard for Monell Liability.

          The Supreme Court has placed strict limitations on municipal liability under Section 1983.

  Grech v. Clayton Cty., 335 F.3d 1326, 1329 (11th Cir. 2003); Gold v. City of Miami, 151 F.3d

  1346, 1350 (11th Cir. 1993). To impose liability against the Town, Plaintiffs must demonstrate:

  (1) that their constitutional rights were violated, (2) that the Town had a custom or policy that

  constituted deliberate indifference to those constitutional rights, and (3) that the policy or custom

  caused the violation. McDowell v. Brown, 392 F.3d 1283, 1289 (11th Cir. 2004); see also Sanchez

  v. Miami-Dade Cty., No. 06-21717-CIV, 2007 WL 1746190, at *3 (S.D. Fla. 2007) (“proof of ‘a

  single incident of unconstitutional activity’ cannot suffice under Monell to impose liability” on a

  municipality) (quoting City of Oklahoma v. Tuttle, 471 U.S. 808, 824 (1985)). These principles

  have long been recognized as a threshold pleading requirement and failure to properly allege a

  custom or policy routinely results in dismissal. See, e.g., Vila v. Miami-Dade Cty., No. 14-21346-

  CIV, 2014 WL 6976273, at *6 (S.D. Fla. Nov. 25, 2014) (granting county’s motion to dismiss

  where the plaintiff failed to identify a custom or policy).

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         A municipality may be held liable “only if such constitutional torts result from an official

  government policy, the actions of an official fairly deemed to represent government policy, or a

  custom or practice so pervasive and well-established that it assumes the force of law.” Denno v.

  School Bd. of Volusia Cty., 218 F.3d 1267, 1276 (11th Cir. 2000), cert. denied, 531 U.S. 958

  (2000). In other words, a plaintiff has two methods by which to establish a municipality’s policy:

  identify either (1) an officially promulgated municipal policy; or (2) an unofficial custom or

  practice of the municipality shown through the repeated acts of a final policymaker for the

  municipality. Monell, 436 U.S. at 694 (1978) (citing Grech, 335 F. 3d at 1329). To demonstrate

  a pervasive practice, a plaintiff must show a persistent and widespread practice with actual or

  constructive knowledge of such by the municipality’s governing board. McDowell, 392 F.3d at

  1290. Random acts, isolated incidents, or dissimilar complaints are insufficient to establish a

  custom or policy and to impose liability on the governing body of the municipality. Id.; see also

  Sanchez, 2007 WL 1746190, at *3 (stating “proof of ‘a single incident of unconstitutional activity’

  cannot suffice under Monell to impose liability” on a municipality) (quoting City of Oklahoma v.

  Tuttle, 471 U.S. 808, 824 (1985)). Accordingly, without an official policy (which Plaintiff has not

  and cannot allege), a Monell claim cannot be demonstrated in the absence of other incidents

  involving factual situations that are substantially similar to the case at hand. Mercado v. City of

  Orlando, 407 F.3d 1152, 1161-62 (11th Cir. 2005); Bailey v. Hughes, 815 F.Supp.2d 1246, 1259

  (M.D. Ala. 2011) (granting defendants’ motion to dismiss a Monell claim that arose from a strip

  search and other alleged constitutional violations because the plaintiff alleged only in a conclusory

  fashion that the violations were the result of a policy or custom).

         Finally, even if a sufficient municipal policy, custom or practice is established, a plaintiff

  still has the substantial burden to demonstrate that the policy, custom or practice was the “moving

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  force,” or “driving force” behind Plaintiff’s purported constitutional injury. Bd. of Cty. Comm’rs

  v. Brown, 520 U.S. 397, 405 (1997); McDowell, 392 F.3d at 1292. The Supreme Court has

  required that “rigorous standards of culpability and causation must be applied to ensure that the

  municipality is not held liable solely for the actions of its employee.” Brown, 520 U.S. at 405.

  “This high standard of proof is intentionally onerous for plaintiffs; imposing liability on a

  municipality without proof that a specific policy caused a particular violation would equate to

  subjecting the municipality to respondeat superior liability – a result never intended by section

  1983.” Gold, 151 F.2d at 1351, n. 10. Plaintiff fails to meet this rigorous standard, as he has not

  alleged a policy, custom, or practice.


             1.      Plaintiff Has Not Pleaded that the Town Had an Official Policy, Practice,
                     or Custom Sufficient to State a Section 1983 Monell Claim.

        While Plaintiff purports to allege a First Amendment violation under the Petition Clause,

  Plaintiff has not alleged the existence of an underlying, unconstitutional Town policy or custom.

  Thus, on the face of the Complaint, Plaintiff has not even attempted to assert a colorable Monell

  claim—the only possible avenue for municipal liability in this case. Plaintiff’s Complaint should

  therefore be dismissed on this ground alone.

        Here, the Complaint fails to identify the existence of any written policy that is allegedly

  unconstitutional and was adopted by a final policymaker for the Town.2 See Casado v. Miami-


  2
          To the extent Plaintiff alleges that Mr. Mesa’s determination constitutes a policy adopted
  by a final policymaker, such an allegation is entirely without merit because a Building Official’s
  findings are subject to appeal. See Morro v. City of Birmingham, 117 F.3d 508, 514 (11th Cir.
  1997)(“[A] municipal official does not have final policymaking authority over a particular subject
  matter when that official's decisions are subject to meaningful administrative review.”).

        Pursuant to § 8-4(d), a Building Official’s determinations may be appealed to the Board of
  Rules    and     Appeals.           Available      at   https://library.municode.com/fl/miami_-
  _dade_county/codes/code_of_ordinances?nodeId=PTIIICOOR_CH8BUCO_ARTIAD_S8-
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  Dade County, 340 F. Supp. 3d 1320, 1327 (S.D. Fla. 2018) (“In the present case, the Amended

  Complaint fails to identify an official policy, not simply allege that one exists.”). Therefore,

  Plaintiff’s Monell claim—to the extent Plaintiff’s Complaint is construed to assert such a claim—

  must depend on the existence of a custom or practice that was so pervasive and well-established

  that it assumed the force of law. See Asia, at *8.

         However, Plaintiff’s Complaint fails to identify “a widespread practice that, although not

  authorized by written law or express municipal policy, is so permanent and well settled as to

  constitute a custom or usage with the force of law.” Brown v. City of Fort Lauderdale, 923 F.2d

  1474, 1481 (11th Cir. 1991)(internal citations omitted). Random acts or isolated incidents, which

  is, at best, what Plaintiff presents here, will not suffice. Depew v. City of St. Marys, Georgia, 787

  F.2d 1496, 1499 (11th Cir. 1986). Plaintiff’s Complaint also does not identify any “incidents

  involving factual situations that are substantially similar to the case at hand.” Mercado v. City of

  Orlando, 407 F.3d 1152, 1161–62 (11th Cir. 2005).

         For the reasons set forth above, Plaintiff has not alleged that his claimed injuries “result

  from an [unconstitutional] official government policy.” Denno, 218 F.3d at 1276. Plaintiff has

  also failed to allege that his claimed injuries were the result of “a custom or practice so pervasive

  and well-established that it assumes the force of law.” Id. Accordingly, to the extent Plaintiff

  attempts to assert a Monell claim, he has clearly failed to allege a legally sufficient cause of action

  and dismissal is warranted.




  4BORUAP. The Court may consider this Code provision at this stage of the proceedings because
  it is central to Plaintiff’s claim and its validity is undisputed. Maxcess, Inc. v. Lucent Techs., Inc.,
  433 F.3d 1337, 1340 n.3 (11th Cir. 2005)(noting that on a motion to dismiss, a court may consider
  matters “outside the four corners of the complaint” if “central to the plaintiff's claims and []
  undisputed in terms of authenticity”).
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  II.    PLAINTIFF FAILS TO STATE A CAUSE OF ACTION FOR AN UNDERLYING
         FIRST AMENDMENT RETALIATION CLAIM

         A.        Plaintiff has Failed to Plausibly Allege a First Amendment Violation.

        Plaintiff has failed to allege an underlying First Amendment violation. Thus, to the extent

  Plaintiff asserts a Monell claim, such a claim fails because an underlying constitutional violation

  must serve as the predicate for municipal liability in a Monell action. Watts v. City of Hollywood,

  Florida, 146 F. Supp. 3d 1254, 1270 (S.D. Fla. 2015).

        To state a First Amendment retaliation claim, a plaintiff must allege that “(1) he engaged in

  protected speech; (2) the defendant's conduct adversely affected the protected speech; and (3) a

  causal connection exists between the speech and the defendant's retaliatory actions.” Bailey v.

  Wheeler, 843 F.3d 473, 480 (11th Cir. 2016). Plaintiff’s First Amendment retaliation claim fails

  under the second and third prongs.

              1.      Plaintiff has Failed to Allege that Mr. Mesa’s Actions Adversely Affected
                      Protected Speech.

        A plaintiff “suffers adverse action if the defendant's allegedly retaliatory conduct would

  likely deter a person of ordinary firmness from the exercise of First Amendment rights.” Bennett

  v. Hendrix, 423 F.3d 1247, 1254 (11th Cir. 2005). This is examined under an objective standard.

  Id. at 1251.

        Plaintiff asserts that Mr. Mesa’s decision to reject the GPRS and Naumann Reports was in

  retaliation for Plaintiff speaking with Mayor Cid regarding Plaintiff’s ongoing roofing permit

  issues. Compl. ¶ 32. Plaintiff alleges that Mr. Mesa’s retaliatory motive is evidenced by the fact

  that Mr. Mesa told Plaintiff that “he does not take orders from any politician” in a “rude and

  sarcastic” tone. Compl. ¶ 16. According to Plaintiff, this evidences such retaliatory motives

  because Mr. Mesa otherwise had “no reason to believe” that the unpermitted work was “unsafe or

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  in a dangerous condition.” Id. ¶ 28. Plaintiff’s Complaint, however, fails to allege sufficient facts

  to give rise to such an inference.

        In fact, Plaintiff’s Complaint makes clear that Mr. Mesa did have reason to believe the

  admittedly unpermitted construction was unsafe.           Plaintiff concedes in the Complaint that he

  improperly began “construction [on the Property’s addition] without a permit.” Compl. ¶ 11.

  Pursuant to § 8-5(a)(3) of the Miami-Dade County Code, “[i]ncomplete buildings commenced

  without a permit . . . shall be presumed and deemed unsafe and a permit shall be obtained to

  demolish the structure or bring the building into compliance with the applicable codes . . .”

  (emphasis added).3 Thus, contrary to Plaintiff’s assertion that Mr. Mesa had “no reason to believe”

  that the unpermitted work was “unsafe or in a dangerous condition,” the Miami-Dade County Code

  actually presumes that such unpermitted construction is unsafe. § 8-5(a)(3), Miami-Dade County

  Code. Further, the Miami-Dade County Code gives Mr. Mesa the discretion to require that the

  unpermitted construction be demolished or brought into compliance. Id. As Plaintiff’s Complaint

  makes clear, rather than requiring that the unpermitted addition be demolished at the outset, Mr.

  Mesa instead opted to allow Plaintiff to attempt to bring the unpermitted construction into

  compliance with the Miami-Dade County Code and Florida Building Code. As the Complaint

  demonstrates, Mr. Mesa attempted to work with the Plaintiff property owner for over five (5)

  months, from approximately May 1, 2020 to October 6, 2020. Compl. ¶¶ 16-25.


  3
          Available                     at                    https://library.municode.com/fl/miami_-
  _dade_county/codes/code_of_ordinances?nodeId=PTIIICOOR_CH8BUCO_ARTIAD_S8-
  4BORUAP. The Court may consider this Miami-Dade County Code provision on a motion to
  dismiss because it is central to Plaintiff’s claim and its authenticity is undisputed. Maxcess, 433
  F.3d at 1340 n.3.(noting that on a motion to dismiss, a court may consider matters “outside the
  four corners of the complaint” if “central to the plaintiff's claims and [] undisputed in terms of
  authenticity”). The Code, which Plaintiff cites to in his Complaint, is central to his retaliation
  claim because he alleges there was “no reason” for Mr. Mesa to believe the unpermitted
  construction was unsafe. Compl. ¶ 28.
                                                    10

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         Plaintiff’s alleged facts, viewed under an objective standard, are plainly insufficient to have

  adversely affected Plaintiff’s protected speech. Indeed, a building official’s attempt to assist a

  property owner with bringing unpermitted construction into code compliance, rather than simply

  recommending that the unpermitted construction be demolished at the outset, could not “deter a

  person of ordinary firmness from the exercise of First Amendment rights” simply because,

  ultimately, the Plaintiff property owner was unable to bring said property/construction into

  compliance. Bennett, 423 F.3d at1254.

              2.     Plaintiff has Failed to Plausibly Allege a Causal Connection Between his
                     Speech and Mr. Mesa’s Actions.

         Plaintiff has likewise failed to allege a causal connection between his speech and Mr.

  Mesa’s actions. To plausibly allege a causal connection, a plaintiff must demonstrate “that the

  defendant was subjectively motivated to discipline the plaintiff for exercising his First Amendment

  rights.” Moton v. Cowart, 631 F.3d 1337, 1341 (11th Cir. 2011)(citation and quotation omitted).

         Plaintiff attempts to demonstrate causation by alleging that Mr. Mesa stated “he does not

  take orders from any politician” in a “rude and sarcastic” tone. Compl. ¶ 15. Such an allegation,

  however, is insufficient to plausibly demonstrate the Mr. Mesa’s actions were motivated by

  Plaintiff’s meeting with Mayor Cid. As noted above, Mr. Mesa’s actions described in the

  Complaint were in accordance with the Miami-Dade County Code, which presumes that Plaintiff’s

  unpermitted construction is unsafe. In fact, as explained supra, Mr. Mesa gave Plaintiff more

  opportunities to bring the property into compliance and correct the violation than the Code even

  required.

         Moreover, even assuming for purposes of this Motion to Dismiss that Mr. Mesa was

  aggravated by Plaintiff’s conversation with Mayor Cid, such discontent cannot give rise to First

  Amendment liability, since Mr. Mesa’s actions were in accordance with the Miami-Dade County
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  Code. See Foy v. Holston, 94 F.3d 1528, 1534 (11th Cir. 1996)(“[S]tate officials can be motivated,

  in part, by a dislike or hostility . . . and still act lawfully.”). Accordingly, for the reasons set forth

  above, Plaintiff has failed to state a cause of action for First Amendment retaliation.

                                               CONCLUSION

          For the reasons set forth above, Plaintiff has failed to meet the stringent requirements

  required to plead a Monell claim. Moreover, Plaintiff has failed to state a cause of action as to his

  underlying First Amendment retaliation claim. Accordingly, Plaintiff’s Complaint should be

  dismissed for failure to state a claim.

          WHEREFORE, the Town respectfully requests that the Court dismiss Plaintiff’s Complaint,

  and grant such further relief as this Court deems just and proper.

                                                    Respectfully submitted,

                                                    WEISS SEROTA HELFMAN
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                                    CERTIFICATE OF SERVICE

         I hereby certify that on February 16, 2021, I electronically filed the foregoing with the

  Clerk of the Court by using the CM/ECF system. I further certify that the foregoing document and

  the notice of electronic filing has been provided to counsel for Plaintiff via electronic mail: Paul

  S.     Figg,     Esq.,     (pfigg@bergersingerman.com;                mnewland@bergersingerman.com;

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                                                            /s/ Justin D. Luger



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